46 F.3d 1123
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gregory A. FAUBEL, a/k/a Gregory A. Fauble, Petitioner-Appellant,v.STATE of South Carolina;  Attorney General of the State ofSouth Carolina, T. Travis Medlock, Respondents-Appellees.
    No. 94-6291.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 2, 1994.Decided Jan. 31, 1995.
    
      Gregory A. Faubel, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, SC, for Appellees.
      Before WILKINSON, NIEMEYER, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Faubel v. State of South Carolina, No. CA-91-3716 (D.S.C. Mar. 4, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    